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                               No. 23-2842

         IN THE UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT

                     PAULA WALLRICH, ET AL.,
                                  Petitioners-Appellees,
                               v.
             SAMSUNG ELECTRONICS AMERICA, INC., ET AL.,
                                  Respondents-Appellants.

 On Appeal from the U.S. District Court for the Northern District of
      Illinois, No. 1:22-cv-5506 (Hon. Harry D. Leinenweber)

 BRIEF OF THE CHAMBER OF COMMERCE OF THE UNITED
   STATES OF AMERICA, THE CONSUMER TECHNOLOGY
 ASSOCIATION, THE NATIONAL RETAIL FEDERATION, THE
  RESTAURANT LAW CENTER, THE AMERICAN BANKERS
ASSOCIATION, AND CTIA—THE WIRELESS ASSOCIATION AS
     AMICI CURIAE IN SUPPORT OF RESPONDENTS-
             APPELLANTS AND REVERSAL


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                    INTEREST OF THE AMICI CURIAE1

         The Chamber of Commerce of the United States of America is the

world’s largest business federation. It represents approximately 300,000

direct members and indirectly represents the interests of more than three

million companies and professional organizations of every size, in every

industry sector, and from every region of the country.

         The Consumer Technology Association is North America’s largest

technology trade association. Its over 1,300 U.S. members are the world’s

leading innovators—from startups to global brands—helping support

more than 18 million American jobs.

         The National Retail Federation is the world’s largest retail trade

association, representing stores, wholesalers, chain restaurants, and

internet retailers from more than 45 countries. Retail is the nation’s

largest private-sector employer, supporting one in four U.S. jobs—

approximately 52 million workers.




1  No counsel for a party authored this brief in whole or in part, and no
person, aside from the amici curiae, their members, or their counsel,
made any monetary contribution intended to fund the preparation or
submission of this brief. See Fed. R. App. P. 29(a)(4)(E). All parties
consented to the filing of this brief.
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     The Restaurant Law Center is the only independent public policy

organization that specifically represents the interests of the foodservice

industry in the courts. This industry includes one million restaurants

and other foodservice outlets employing nearly 16 million people; it is the

nation’s second largest private-sector employer.

     The American Bankers Association is the principal national trade

association of the financial services industry. It is the voice for the

nation’s $23.7 trillion banking industry, which is composed of small,

regional, and large banks that together employ more than 2.1 million

people.

     CTIA—The Wireless Association represents the United States

telecommunications industry and the companies throughout the mobile

ecosystem that enable Americans to a 21st-century connected life. Its

members include wireless carriers, device manufacturers and suppliers,

as well as app producers and content creators. CTIA vigorously advocates

at all levels of government for policies that foster continued wireless

innovation and investment.

     Amici regularly file briefs in cases, like this one, that raise issues

of importance to the nation’s business community. Many of their



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members regularly rely on consumer and workplace arbitration

agreements because resolving disputes through arbitration is fast, fair,

inexpensive, and less adversarial than litigation in court.

     But these benefits of arbitration are being placed at risk. The recent

rise of abusive mass arbitrations subverts arbitration agreements by

using them to extract blackmail settlements untethered to the claims’

merits. The decision below both illustrates and amplifies these risks.

     The district court glossed over the most important question in

considering the petition to compel arbitration—whether each claimant

seeking to compel arbitration entered into an arbitration agreement. By

relieving petitioners of their well-settled obligation to prove the existence

of arbitration agreements, the district court’s approach facilitates the use

of highly-questionable claims, and the associated arbitration fees, to

coerce a settlement.

     That abuse of the arbitration process undermines the purpose of

the Federal Arbitration Act (“FAA”)—promoting the use of arbitration. If

permitted to persist, some companies will abandon arbitration,

notwithstanding its benefits to consumers, workers, and companies, and

other companies will face unjustified costs that will be passed along to


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consumers through higher prices and to workers through lower wages.

Accordingly, amici have a strong interest in this case and in reversal of

the judgment below.

     INTRODUCTION AND SUMMARY OF THE ARGUMENT

      To make arbitration attractive for consumers and workers, fairness

rules adopted by major arbitration providers require businesses to pay

nearly all of the costs of an arbitration. These subsidies are part of why

arbitration is fair and effective in resolving disputes that are too small to

litigate in court.

      But some lawyers have cynically sought to leverage those subsidies

to force companies to pay blackmail settlements, regardless of the merit

of the underlying claims. These lawyers amass as many claimants as

possible, usually through social-media advertisements boasting of large

potential payouts. They then threaten to file a huge number of identical

arbitration claims.

      If those arbitrations are filed at once, the company will face an

astronomical bill—due immediately—for tens of millions of dollars in

arbitration fees. These fees are assessed on a per-case basis, due upon

the filing of the arbitration demands, and nonrefundable. The lawyers’



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strategy is to make it too expensive for a company to have even a chance

to defend itself; the only choice is to settle—even if the underlying claim

has no merit.

     The engine that drives this abusive practice is the number of

claimants. To inflate that number, some lawyers cut corners when

recruiting claimants, by, for example, skipping due diligence into

whether their clients are actually customers of the company—and thus

whether the clients can invoke arbitration agreements in the first place.

Some lawyers use misleading ads that can cause claimants to believe that

they are simply participating in a class action rather than bringing their

own claim as a party in arbitration. And some lawyers use engagement

letters that purport to waive the client’s right to be informed of and make

decisions regarding settlement.

     A recent report by the Chamber’s Institute for Legal Reform

explains the serious danger posed by these abusive tactics. See U.S.

Chamber of Commerce Institute for Legal Reform, Mass Arbitration




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Shakedown:          Coercing     Unjustified     Settlements     (Feb.     2023),

https://bit.ly/3qTzu1q (Mass Arbitration Shakedown).2

         The district court’s order here, if allowed to stand, facilitates this

abuse. Normally, if one party refuses to arbitrate, a federal court will

require the party seeking to compel arbitration to prove the existence of

an arbitration agreement. This Court has held that the proof submitted

in support of the request to compel arbitration is assessed initially under

the summary-judgment standard. If that evidence would allow a

reasonable fact-finder to conclude that the parties agreed to arbitration,

then the party resisting arbitration must show disputed issues of

material fact. If a dispute exists, a trial is required.

         The district court gave only lip service to that standard. It excused

petitioners from proving that they each have an arbitration agreement

with Samsung. Instead, it relied on a list of claimants prepared by

petitioners’ counsel. Even if counsel had authenticated the list (they

didn’t), a lawyer’s list is not evidence that the claimants have arbitration

agreements. And the court discounted Samsung’s showing that there



2  Some of the lawyers submitting this brief authored the Chamber
report.

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were serious problems with the list; according to Samsung, the claimants’

initial list included individuals who were “deceased,” had “fictitious

personal information,” and “submitted multiple demands under different

names” (Dkt. 26 at 1)—meaning that at least some claimants likely

weren’t Samsung customers at all.

      By relieving petitioners of their burden of proof, the district court’s

approach all but guarantees that fraudulent arbitrations will be

initiated. That result undermines both the FAA’s purpose of promoting

arbitration and respect for the legal system as a whole. It also hurts

consumers, because it discourages businesses from offering generous

arbitration and pre-arbitration dispute-resolution programs, which make

it possible for consumers to pursue claims that otherwise could not be

brought in court as a practical matter because of the costs and burdens

of litigating in that forum. The ruling below should be reversed.

                               ARGUMENT

I.    The District Court Improperly Assumed The Existence Of
      Arbitration Agreements Instead Of Requiring Petitioners
      To Satisfy Their Burden To Prove They Agreed To Arbitrate.

      “Because arbitration agreements are contracts, a party cannot be

required to submit to arbitration any dispute which he has not agreed so

to submit.” Kass v. PayPal Inc., 75 F.4th 693, 700 (7th Cir. 2023) (cleaned
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up). The FAA makes this requirement explicit, stating that the court

must be “satisfied that the making of the agreement . . . is not in issue”

before “mak[ing] an order directing the parties to proceed to arbitration.”

9 U.S.C. § 4. Put simply, courts must determine—based on evidence—

that an arbitration agreement was formed before compelling arbitration.

     The rise of abusive mass arbitrations necessitates close attention to

this requirement. Because the coercive pressure to settle results from the

timing and amount of arbitration fees, which are assessed on a per-

claimant basis, lawyers have a strong incentive to pursue a large

quantity of claims without regard to their quality. As a result, the set of

“claimants” often includes many individuals who never entered into an

arbitration agreement—including some who weren’t even customers of

the target company. See pages 31-35, infra.

     The court adjudicating a request to compel arbitration is the

primary bulwark against the use of these wholly illegitimate claims to

fuel abusive mass arbitrations designed to coerce settlements.

     The district court here abdicated its responsibility to undertake this

inquiry.




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     A.    Petitions To Compel Arbitration Are Assessed Initially
           Under The Summary-Judgment Standard.

      Section 4 of the FAA outlines the procedures that courts must

follow to ensure that the threshold requirement for compelling

arbitration—existence of a binding arbitration agreement—has been

satisfied: “The court shall hear the parties, and upon being satisfied that

the making of the agreement . . . is not in issue, the court shall make an

order directing the parties to proceed to arbitration.” 9 U.S.C. § 4. “If the

making of the arbitration agreement . . . be in issue, the court shall

proceed summarily to the trial thereof.” Id. (emphasis added). And

“[w]here such an issue is raised, the party alleged to be in default” can

“demand a jury trial of such issue[.]” Id.

     Although the “FAA does not expressly identify the evidentiary

standard” for petitions and motions to compel arbitration, this Court, as

well as other courts of appeals, has held that the “summary judgment”

standard applies. Tinder v. Pinkerton, 305 F.3d 728, 735 (7th Cir. 2002);

see also, e.g., Air-Con, Inc. v. Daikin Applied Latin Am., LLC, 21 F.4th

168, 174 (1st Cir. 2021) (citing cases).

     Under that standard, the “party seeking arbitration bears an initial

burden of demonstrating that an agreement to arbitrate was made.”

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Zachman v. Hudson Valley Fed. Credit Union, 49 F.4th 95, 101-02 (2d

Cir. 2022). This requires submission of evidence sufficient to allow

“reasonable jurors [to] find by a preponderance of the evidence” that the

parties had entered into an arbitration agreement. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 252 (1986). Put another way, “a party seeking

to invoke FAA § 4 must make a prima facie initial showing that an

agreement to arbitrate exist[s.]” Hines v. Overstock.com, Inc., 380 F.

App’x 22, 24 (2d Cir. 2010); see also, e.g., McGhee v. N. Am. Bancard,

LLC, 755 F. App’x 718, 720 (9th Cir. 2019); BOSC, Inc. v. Bd. of Cty.

Comm’rs of Cty. of Bernalillo, 853 F.3d1165, 1177 (10th Cir. 2017).

     If that initial burden is satisfied, the burden then shifts to the party

opposing arbitration to “identify a triable issue of fact concerning the

existence of the agreement.” Tinder, 305 F.3d at 735. Evidence sufficient

to dispute a material fact puts “the making of the agreement . . . in

issue,” and the FAA directs that the court “shall proceed summarily to

the trial thereof.” 9 U.S.C. § 4; see also Deputy v. Lehman Bros., Inc., 345

F.3d 494, 509-10 (7th Cir. 2003); Howard v. Ferrellgas Partners, L.P., 748

F.3d 975, 978-79 (10th Cir. 2014). At trial, the party invoking arbitration




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“b[ears] the burden” to prove that the arbitration agreement exists.

Goplin v. WeConnect, Inc., 893 F.3d 488, 491 (7th Cir. 2018).

     Here, the district court failed to follow these established procedures

when it compelled arbitration.

     B.     The District Court Erred In Ruling That Petitioners
            Had Met Their Prima Facie Burden To Prove They
            Each Have An Arbitration Agreement With Samsung.

     Petitioners needed to show that, with respect to the existence of an

arbitration agreement, no “material fact” was disputed and each

petitioner was “entitled to judgment as a matter of law.” Spierer v.

Rossman, 798 F.3d 502, 507 (7th Cir. 2015). They failed to do so; indeed,

they failed to adduce any particularized evidence that each petitioner is

a Samsung customer who had entered into an arbitration agreement with

the company.

     The district court specified four reasons why it believed petitioners

had carried their burden:

     (1) petitioners submitted “a discrete list of named Petitioners”;

     (2) the American Arbitration Association (“AAA”) “determined that

          they met [its] filing requirements”;




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     (3) the district court believed that it must “accept the word of over

         30,000 individuals”; and

     (4) Samsung failed to contest every name on the list.

Dkt. 51 at 22. Each reason is plainly insufficient as a matter of law.

           1.    The list of claimants’ names and home cities.

     The first item referenced by the court below is the “discrete list of

Petitioners”—by first and last name and home city (but not full street

address)—that petitioners’ counsel had submitted to the AAA and

attached to the petition to compel arbitration. Dkt. 51 at 22.

     But that list doesn’t come close to admissible evidence proving that

the listed individuals are actual Samsung customers who agreed to

arbitrate. The petition describes it as a list of Samsung Galaxy

“purchasers” (Pet. ¶ 28), but it is an unadorned spreadsheet of names and

cities, without even the source of the underlying information. Neither the

list nor the petition contains competent evidence confirming that any

individual actually owns one of Samsung’s devices, and neither shows

how any individual agreement to arbitrate was formed.

     And plaintiffs’ counsel did not provide an authenticating

declaration to explain how the list of names was prepared. The



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spreadsheet therefore is inadmissible under Federal Rules of 802 and

901 and accordingly cannot provide competent evidence of the existence

of any arbitration agreements.

     The district court’s reliance on the list as evidence of 30,000

arbitration agreements therefore contravenes the very decision of this

Court that the court cited, Bigger v. Facebook, Inc., 947 F.3d 1043 (7th

Cir. 2020).

     In that case, the question was whether notice of an FLSA collective

action could be issued to employees who had agreed to arbitrate. Id. at

1047. This Court held that notice should not be issued to those employees,

and that “[t]he employer seeking to exclude employees from receiving

notice has the burden to show, by the preponderance of the evidence, the

existence of a valid arbitration agreement for each employee it seeks to

exclude from receiving notice.” Id. at 1050 (emphasis added).

     This Court explained that a court need not “simply take an

employer at its word when it says certain employees entered valid

arbitration agreements.” Id. at 1051. Instead, the Court remanded,

requiring “additional evidence” as to who did or did not enter into “valid

arbitration agreements.” Id.


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      Both Bigger and this case involve the same question—the proof

needed to demonstrate that an arbitration agreement exists—and the

same principles apply; it doesn’t matter that the factual issue there arose

in a somewhat different context. Under Bigger, the district court here

erred in “tak[ing]” petitioners “at [their] word.” Id. And if the district

court here were correct, Bigger would have come out the other way and

simply “take[n] the employer at its word” that specific employees were

bound by arbitration agreements without the need for “additional

evidence.” Id.

            2.   The AAA’s administrative determination that its
                 filing requirements were satisfied.

      The district court also erred by relying on the fact that “[t]he AAA

has   already    reviewed   Petitioners’    arbitration   agreements     and

determined that they met the filing requirements.” Dkt. 51 at 21.

      The   AAA’s    administrative       determination    that   its   filing

requirements have been satisfied does not require or even include a

finding that the claimant has a valid arbitration agreement. Under the

AAA rules, the only requirements for filing an arbitration are




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(a) submission of a Demand for Arbitration and a copy of the purported

arbitration agreement; and (b) payment of the filing fee.3

      Moreover, the AAA intake staff does not assess the validity of the

arbitration agreement at the filing stage. The AAA rules specify that the

arbitrator will “rule” on “any objections” as to the “validity of the

arbitration agreement”—and the arbitrator is not appointed until after

the administrative filing requirements have been met.4

      More fundamentally, as a legal matter, the “threshold question” of

whether “a contract [for arbitration] exists” is one “the court must

decide.” Janiga v. Questar Cap. Corp., 615 F.3d 735, 742 (7th Cir. 2010).

For example, “[a] person whose signature was forged has never agreed to

anything . . . . [I]t is a situation in which no contract came into being; and

as arbitration depends on a valid contract an argument that the contract

does not exist can’t logically be resolved by the arbitrator.” Sphere Drake

Ins. Ltd. v. All Am. Ins. Co., 256 F.3d 587, 591 (7th Cir. 2001). This rule

is “well settled.” Granite Rock Co. v. Int’l Bhd. Of Teamsters, 561 U.S.




3 AAA, Consumer Arbitration Rules, R-2(a), https://bit.ly/3G9jtIU.

4 Id. R-14(a), R-16(a).



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287, 296 (2010). 5 Accordingly, the district court erred by treating the

AAA’s administrative determinations as evidence of petitioners’

purported arbitration agreements.

               3.    “[T]he word of over 30,000 individuals.”

         The district court next stated that, even though “some [individuals]

may have been recruited to this action by obscure social media ads,” it

“must accept the word of over 30,000 individuals” that they had agreed

to arbitrate with Samsung. Dkt. 51 at 22. This, too, was error.

         The court never heard from any of the petitioners. Not one

submitted a declaration to attest to being a Samsung Galaxy owner who

sought arbitration.

         The court appeared to rely on a representation by petitioners’

counsel. But “it is universally known that statements of attorneys are not

evidence.” Campania Mgmt. Co. v. Rooks, Pitts & Poust, 290 F.3d 843,

853 (7th Cir. 2002). Similarly, “arguments in a . . . brief, unsupported by




5  See also, e.g., Reichert v. Rapid Invs., Inc., 56 F.4th 1220, 1226-27 (9th
Cir. 2022) (challenge to “contract formation” is “a matter to be
determined by a court”); Rowland v. Sandy Morris Fin. & Estate
Planning Servs., LLC, 993 F.3d 253, 258 (4th Cir. 2021).

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documentary evidence, are not evidence.” United States v. Stevens, 500

F.3d 625, 628 (7th Cir. 2007).

     True, counsel also put its statements in the petition, which it

labeled a “Verified Petition,” but no petitioners signed verifications. See

Dkt. 1. And “[a]llegations in a complaint are not evidence.” Nisenbaum v.

Milwaukee Cty., 333 F.3d 804, 810 (7th Cir. 2003).

     Because petitioners failed to submit declarations attesting that

they are Samsung Galaxy owners who agreed to arbitrate, they failed to

meet their initial burden to prove that they each had an arbitration

agreement to enforce.

     That is the conclusion reached by another court confronted with a

similar list of claimants.

     In Abernathy v. DoorDash, Inc., 2019 WL 13402416 (N.D. Cal.

Nov. 26, 2019), a petition to compel arbitration was supported, as here,

by a bare list of 5,879 individual petitioners’ names. Their counsel

contended that the list was proof that each had provided deliveries

through the DoorDash platform—and therefore had agreed with

DoorDash to arbitrate disputes.




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     The Abernathy court ordered that “[b]efore the Court can grant

injunctive relief compelling arbitration as to any petitioner, there must

be a sworn declaration from that petitioner at least setting forth his or

her name and the identifying information he or she used to register with

DoorDash, the approximate dates of service, and at least referencing in

an ascertainable way the specific arbitration agreement he or she clicked

through.” Id. at *1. “This must be done,” the court added, “by someone

with first-hand knowledge, which means the petitioner himself or herself

must sign.” Id.; see also Abernathy v. DoorDash, Inc., 438 F. Supp. 3d

1062, 1065 (N.D. Cal. 2020) (refusing to compel arbitration for claimants

who didn’t provide the required declarations).

     Similarly, in Dillon v. BMO Harris Bank, N.A., 173 F. Supp. 3d 258

(M.D.N.C. 2016), the court denied a motion to compel arbitration because

the testimony of a declarant purporting to authenticate the arbitration

agreement without personal knowledge was “neither competent nor

credible” and hence “inadmissible.” Id. at 264, 269, 272.

     By contrast, petitioners here submitted nothing at all—not witness

statements and no declarations (inadmissible or otherwise). The court

below erred in failing to recognize petitioners’ failure of proof.


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           4.    Switching the burden to Samsung.

     The final reason advanced by the district court—that Samsung had

not identified every petitioner with whom it did not have an arbitration

agreement (Dkt. 51 at 22)—also fails. That rationale “impermissibly put

the burden of disproving the existence of a valid arbitration agreement

on . . . the non-moving party.” Air-Con, 21 F.4th at 176.

     Because the FAA and this Court’s decisions make clear that

petitioners bear the burden of proving that an arbitration agreement

exists, the district court could not offload that obligation onto Samsung.

“A party opposing summary judgment does not have to rebut factual

propositions on which the movant bears the burden of proof and that the

movant has not properly supported in the first instance.” Johnson v. Hix

Wrecker Serv., Inc., 651 F.3d 658, 662 (7th Cir. 2014); see also 10A

Federal Practice & Procedure § 2727.1 (Supp. 2023).

     That principle applies to a motion or petition to compel arbitration.

The movant or petitioner bears the burden of proving the existence of an

arbitration agreement. And “[i]f the movant has failed to make this initial

showing, the court is obligated to deny [the] motion”—not grant it. Hotel




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71 Mezz Lender LLC v. Nat’l Retirement Fund, 778 F.3d 593, 601 (7th

Cir. 2015).6

         In sum, the district court erred in holding that petitioners had met

their prima facie burden to prove that they each had agreed to arbitrate

with Samsung.

         C.    Even If Petitioners Had Met Their Initial Burden,
               Samsung Raised A Dispute Of Material Fact That
               Required A Trial On Contract-Formation Issues.

         Because petitioners failed to carry their prima facie burden, the

district court’s decision must be reversed. But even if petitioners had

satisfied their initial burden, the district court erred at the second step

of the analysis in holding that Samsung had not raised a dispute of

material fact. Dkt. 51 at 22.

         To the contrary, Samsung raised multiple disputes of material fact

about the list of claimants.

         The initial list of claimants submitted by petitioners’ counsel

contained glaring errors. According to Samsung, the list included




6  If a defendant moves to compel arbitration in response to a plaintiff’s
complaint, sometimes the defendant can satisfy its burden by pointing to
a plaintiff’s concession or incorporation by reference to the arbitration
agreement in the complaint. But that situation is not presented here.

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“deceased individuals, individuals with fictitious personal information,

individuals who are in bankruptcy, and individuals who submitted

multiple demands under different names.” Dkt. 26 at 1. Although

petitioners revised their list, these inaccuracies reveal the list’s inherent

unreliability as a whole—casting it into doubt as to each petitioner.

     Moreover, the court’s belief that Samsung could have done more to

challenge the remaining names on the list rests on the erroneous

assumption that Samsung has an exhaustive and accurate list of device

purchasers, against which it may compare the list of petitioners. As

Samsung explains, “[i]ndividuals typically buy Samsung devices from

third parties, like mobile carriers or retail stores,” and because “Samsung

device owners are not required to register their devices, Samsung does

not have a list of every device owner.” Op. Br. 45.

     Because the summary-judgment standard required evidence to be

taken in the light most favorable to Samsung (Spierer, 798 F.3d at 507),

the district court erred in holding that Samsung had not raised a triable

issue. Indeed, a reasonable jury could find, on the basis of these defects,

that the list is so unreliable that it fails to prove that any of the

petitioners are Samsung Galaxy owners. See United States v. Fluker, 698


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F.3d 988, 999 (7th Cir. 2012) (“the task of deciding the evidence’s true

authenticity and probative value is left to the jury”). And Section 4 of the

FAA requires that this dispute be fully explored and resolved at trial. See

9 U.S.C. § 4; see also, e.g., Kass, 75 F.4th at 705 (ordering trial under 9

U.S.C. § 4); Howard, 748 F.3d at 984.

      At a minimum, Samsung raised an issue warranting further

inquiry. As this Court has explained, when a party opposing a motion to

compel arbitration raises questions “concerning the validity” of a

“signature” on the arbitration agreement, the defendant “must be given

the opportunity to conduct limited discovery” on that issue. Deputy, 345

F.3d at 511; see also, e.g., Bigger, 947 F.3d at 1047.

      Given the seriousness of the questions Samsung has raised—and

the deficiencies in petitioners’ showings—the district court should have

required additional proof from (and allowed additional inquiries of) the

petitioners.

II.   The District Court’s Decision Facilitates The Abusive Use Of
      Mass Arbitrations To Obtain Unjustified Settlements.

      This case is one example of a growing phenomenon: the abusive use

of mass arbitrations to coerce settlements without regard to the claims’

merits. The district court’s approach—essentially relieving petitioners of

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their obligation to prove the existence of arbitration agreements—is

particularly concerning because, if permitted to stand, it will compound

the harm of this abusive practice. And that threatens to deprive

consumers, workers, companies, and courts of the significant benefits

provided by resolution of disputes through arbitration.

     A.     Consumers, Workers, And Businesses Benefit From
            Individual Arbitration.

     Multiple studies confirm that consumers who arbitrate fare at least

as well, if not better, than ones who litigate in court. A recent study

released by the Chamber’s Institute for Legal Reform surveyed more

than 41,000 consumer arbitration cases and 90,000 consumer litigation

cases resolved between 2014 to 2021 and found that:

      Consumers who initiate cases were over 12% more likely to win

          in arbitration than in court;7




7 Nam D. Pham & Mary Donovan, Fairer, Faster, Better III: An Empirical

Assessment of Consumer and Employment Arbitration 4-5 (Mar. 2022),
https://bit.ly/3SK7QwA (41.7% in arbitration compared to 29.3% in
court).

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       The median monetary award for consumers who prevailed in

         arbitration was more than triple what consumers received in

         cases won in court;8 and

       On average, arbitration of consumer disputes is more than 25%

         faster than litigation in court.9

Prior studies similarly report that consumers in arbitration fare at least

as well as consumers in court.10

      The use of arbitration also provides businesses with significant

incentives to invest in robust pre-arbitration dispute resolution practices

to address consumers’ concerns before any arbitration is initiated.

Companies heavily subsidize most or all costs of arbitration, and it is thus

in their interest to make claimants with legitimate concerns whole—or

more than whole—before a demand is filed and the business incurs the


8 Id. at 4-5 ($20,356 in arbitration compared to $6,669 in court).

9 Id. at 4-5 (321 days in arbitration compared to 439 days in court).

10 See, e.g., Christopher R. Drahozal & Samantha Zyontz, Creditor
Claims in Arbitration and in Court, 7 Hastings Bus. L.J. 77, 80 (2011);
Christopher R. Drahozal & Samantha Zyontz, An Empirical Study of
AAA Consumer Arbitrations, 25 Ohio St. J. on Disp. Resol. 843, 896-904
(2010); Ernst & Young, Outcomes of Arbitration: An Empirical Study of
Consumer Lending Cases (2005); Theodore Eisenberg et al., Litigation
Outcomes in State and Federal Courts: A Statistical Portrait, 19 Seattle
U. L. Rev. 433, 437 (1996).

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associated arbitration fees. And companies often do just that. See Mass

Arbitration Shakedown, supra, at 9.

      Consumers who have disputes with businesses are not the only

beneficiaries of arbitration. Because arbitration reduces the cost of

dispute resolution, it also reduces the company’s overall cost of doing

business. The forces of market competition then cause these savings to

be passed along to consumers in the form of lower prices and to employees

in the form of higher wages.11 Without arbitration, there are no savings,

and the result is higher prices and lower wages. And the ripple effects of

these changes are felt throughout the economy.

      B.    Mass Arbitration Has Emerged As A Vehicle For
            Abusive Gamesmanship.

      There has been a dramatic increase in abusive mass arbitrations

designed to coerce a settlement, regardless of the underlying merits,

through the threat of extortionate arbitration fees. See Mass Arbitration

Shakedown, supra, at 18-19.




11 Stephen J. Ware, The Centrist Case for Enforcing Adhesive Arbitration
Agreements, 23 Harv. Negotiation L. Rev. 29, 85, 113 (2017) (“[S]tandard
economic analysis suggests that enforcement of adhesive consumer
arbitration agreements tends over time to lower the prices of the goods
and services consumers buy.”).

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     This abusive tactic rests on two factors: unfairly exploiting

companies’ obligation to pay arbitration fees and the use of questionable

claimant-recruiting practices.

           1.    Leveraging fee-payment provisions to coerce
                 settlements.

     Many arbitration agreements select the AAA as the third-party

administrator for consumer arbitrations. The AAA is generally

recognized to employ fair procedures for the selection of arbitrators and

has a strong roster of experienced, neutral lawyers, including former

judges, who serve as arbitrators.

     The AAA consumer fee schedule results in potentially enormous

fees: if a customer requests a hearing (even a telephonic or Zoom

hearing), a company must pay $4,775 in AAA fees per case, win or lose.12

And the lion’s share of these fees must be paid almost immediately after




12 See AAA, Consumer Arbitration Rules: Costs of Arbitration       (Aug. 1,
2023), https://bit.ly/40JCtqX. Specifically, the business would pay the
business’s $375 filing fee, a $1,400 case-management fee, a $500 hearing
fee, and an arbitrator fee of $2,500 per day of hearing. Id. at 1. If a
business agrees to pay the consumer’s $225 filing fee, the total goes up to
$5,000 per case.

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the arbitration is filed. 13 In a mass arbitration, the AAA only slightly

reduces the initial filing fees and leaves the other fees unchanged,

gradually lowering the business’s cost per case to $4,500—or $3,000 if the

consumers request to dispense with hearings.14

     By contrast, the fee obligation under the AAA fee schedule for

consumers is minimal. To ensure that invoking arbitration is not

burdensome to consumers, the AAA rules limit the consumer’s share of

arbitration fees to $225.15

     The fees imposed on companies become astronomical when

aggregated to threaten a mass arbitration filing of tens of thousands of

claims. This gigantic payment obligation—which the business must pay

before it can verify whether the claimant is a bona fide party to an




13 The filing fees and sometimes the arbitrator fees are charged as soon

as the case is accepted for administration, and the case-management fee
is charged as soon as the AAA deems the case ready for arbitrator
selection. AAA, Consumer Arbitration Rules: Costs of Arbitration, supra.
14 The AAA has adopted procedural rules governing mass arbitrations,

but those rules do not address or reduce the fees that a business owes for
each arbitration. See AAA, Mass Arbitration Supplementary Rules (Aug.
1, 2023), https://bit.ly/3R7ZT6w.
15 See AAA, Consumer Arbitration Rules: Costs of Arbitration, supra.



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arbitration agreement with the business, much less offer any defense to

the claims—creates leverage to force blackmail settlements.

     Consider a business threatened with 50,000 mass arbitrations—

which is the number of arbitrations originally filed against Samsung

(Dkt. 27 at 11-23) and fewer than the number that Uber (60,000)16 and

Amazon (75,000)17 faced. Under the AAA’s current fee schedule, if the

claimants request telephonic or Zoom hearings, the business’s costs

relatively early in the process—before any arbitrations on the merits

begin—would be well over $200 million. And the business faces the risk

that it would be required to pay this amount even if it later won every case

(and—under the district court’s order—even if the claimants were not in

fact customers of the company or failed to show up to the hearing).

     Plaintiffs’ lawyers know that tens of thousands of arbitrations will

not be conducted immediately and simultaneously. They could not appear

in each of those cases, and arbitration providers could not process them

or provide arbitrators to decide them. Here, Plaintiffs’ counsel did not



16 Andrew Wallender, Uber Settles ‘Majority’ of Arbitrations for at Least

$146M, Bloomberg Law (May 9, 2019), https://bit.ly/3z5E0LD.
17 Amanda Robert, Amazon Drops Arbitration Requirement After Facing

75,000 Demands, ABA J. (June 2, 2021), https://bit.ly/3URJuTj.

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even move forward with the handful of California cases for which

arbitration fees had been paid—and thus were poised to move forward in

arbitration. Op. Br. 2. That fact proves the point: the sole reason for the

threat of simultaneous filing is to coerce a settlement.

     Businesses face substantial risks if they refuse to pay the fees or

seek to delay payment until after verifying the claims’ legitimacy. As this

case reveals, the plaintiffs’ firm might seek to force the business to pay

the fees. And the AAA warns that if a business fails to make fee payments

that the AAA has concluded the business is obligated to pay, the AAA

“may decline to administer future consumer arbitrations with that

business,” which could end the company’s arbitration program.18

     Plaintiffs’ law firms have exploited these dynamics to try to achieve

quick and lucrative settlements. After all, a business facing the threat of

$200 million in AAA fees may find it difficult to reject a $20 million

settlement demand, even if the underlying claims are meritless. Here,

Samsung has explained that the settlement demand before filing the

50,000 arbitrations was $50 million. Dkt. 27 at 12. And petitioners’

counsel told Samsung that they had rounded up another 50,000


18 AAA, Consumer Arbitration Rules, supra.



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claimants for a second round of arbitrations if Samsung didn’t settle. Id.

at 16.

     These facts illustrate the economic pressure of mass arbitrations,

which is even greater than the pressure imposed by class actions, which

Judge    Friendly   famously     recognized    can    lead   to   “blackmail

settlements.”19

     Today,   for plaintiffs’ firms threatening mass arbitrations,

blackmail settlements are the entire point. “[A]busive mass arbitrations

are a 21st-century equivalent of the abusive class actions that

characterized the last part of the 20th century—claims that can be

brought solely for the purpose of extracting a settlement unrelated to the

merits by leveraging the threat of huge costs.”20

     Georgetown Professor J. Maria Glover has stated candidly—after

interviewing plaintiffs’ lawyers who originated the strategy—that “[t]he

mass-arbitration model operates on its ability to impose significant in

terrorem settlement pressure” through the imposition of “astounding”




19 Henry J. Friendly, Federal Jurisdiction: A General View 120 (1973).

20 Mass Arbitration Shakedown, supra, at 5.



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fees that “can spell financial catastrophe for a potential defendant.”21 She

concluded that the settlement pressure imposed by a mass arbitration—

even one asserting “more dubious claims”—can be greater than from a

certified class action.22

            2.    Abusive claimant-recruitment practices.

      The coercive leverage from a threatened mass arbitration stems

from the amount of arbitration fees that the target company will be

obligated to pay—and that turns entirely on the number of claims the

plaintiff’s lawyer is able to threaten. The more claims, the greater the

threat. Because arbitration providers require payment without any

vetting of the legitimacy of the claim—without even proof that the

claimant is a customer of the target company—plaintiffs’ lawyers have a

powerful incentive to focus on the quantity of claims regardless of their

quality. That reality is spawning disturbing abuses in the claimant-

recruitment process.



21 J. Maria Glover, Mass Arbitration, 74 Stan. L. Rev. 1283, 1345, 1349,

1380 (2022).
22 Id. at 1350; see also id. at 1352 (“Simply put, mass arbitration shows

that when it comes to in terrorem effects[,]” “the leverage of a large
number of individual arbitrations can sometimes exceed the leverage
created by aggregate proceedings.”).

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     Unlike class actions, where plaintiffs’ lawyers predominantly

communicate with a few named plaintiffs to initiate a case, and the

subsequent court-supervised class-certification process provides certain

guarantees about the characteristics of unnamed class members, mass

arbitrations require individualized vetting and attention from plaintiffs’

lawyers for each claim that they file (or threaten to file).

     Plaintiffs’ lawyers should be vetting their clients to ensure that

they have a basis for presenting a claim for resolution by arbitration and

communicating with their clients throughout the process—indeed, those

steps are mandated by the rules of professional conduct.

     For example, lawyers may not “bring or defend a proceeding, or

assert or controvert an issue therein, unless there is a basis in law and

fact for doing so.” ABA Model R. of Prof. Conduct 3.1. Accordingly, they

must “inform themselves about the facts of their clients’ cases and the

applicable law and determine that they can make good faith arguments

in support of their clients’ positions.” Rule 3.1, cmt. 2. The rules also

require communication between lawyers and their clients. See, e.g.,

Rule 1.4.




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      But recent experience suggests that at least some plaintiffs’ lawyers

are not following these requirements. See Mass Arbitration Shakedown,

supra, at 30-40. As noted above, Samsung has raised issues suggesting

that petitioners’ counsel failed to vet its clients adequately. See Op. Br.

22-23, 42-43.

      Nor is this case an isolated one. For example, in a mass arbitration

involving Intuit, plaintiffs’ counsel had to drop thousands of arbitration

claims because, according to Intuit’s counsel, it turns out their clients

were not in fact customers of Intuit or had never incurred the disputed

charge.23

      These incidents aren’t unique. Even the limited publicly available

information about filed or threatened mass arbitrations shows that other

targeted companies have had similar experiences. 24 This pattern


23 See Dkt. 192 ¶¶ 21-22, In re Intuit Free File Litig., No. 3:19-cv-2546

(N.D. Cal. Dec. 7, 2020).
24 See, e.g., In re CenturyLink Sales Pracs. & Sec. Litig., 2020 WL
3513547, at *2-3 (D. Minn. June 29, 2020) (after mass arbitration
claimants were selected solely “based on their responses to
questionnaires,” defendant “could not identify any potential customer
account that could be connected with some” claimants, with some even
“claim[ing] to receive services at addresses in states in which [the
defendant] does not provide services”); Abernathy, 438 F. Supp. 3d at
1065 (869 arbitration claimants failed to provide sufficient evidence to


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confirms that neither judges nor lawyers can blindly trust the unverified

information typed into online forms by strangers recruited to be

claimants.

      There is further evidence that online claimant-recruitment efforts

are vulnerable to bogus claims—and therefore that claimants’ counsel

must scrutinize these submissions carefully: The high rate of fraudulent

online claims in class settlements. For example, last year, a consumer

class-action settlement let class members submit claims for up to $20

online without proof of purchase or even higher amounts with proof of

purchase. 25 The claims administrator found that 49 percent of claims

were fraudulent: “209,642” were obvious duplicates, but another

“658,719” were more clever fakes, because although the claimant

information differed, the claims were submitted using “a single internet

protocol address” or “known fraudulent email domains” or sought




allow the court to find that they had arbitration agreements with
defendant).
25 See Dkt. 33 at 2, Hezi v. Celsius Holdings, Inc., No. 1:21-cv-9892
(S.D.N.Y. Nov. 22, 2022).

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payment to “the same digital payment account”—and sometimes faked

proof of purchase.26

       Similarly, 47 percent of submissions in a recent class settlement

involving Godiva were fraudulent, with many of the fake claims

originating from a “bot” hosted in a “foreign country.”27 “Submission of

fraudulent claims to class settlements is, unfortunately, a documented

phenomenon.” In re NFL Players’ Concussion Injury Litig., 307 F.R.D.

351, 414 (E.D. Pa. 2015) (citing additional examples). 28

       The fraud occurring in connection with class-action settlements is

certain to be mirrored in the mass-arbitration context. If anything, the

problem is likely to be worse, because neither claims administrators nor

courts are policing the issue—as the decision below underscores. And the

failure to engage in appropriate verification harms everyone: not just

businesses but consumers as well—and the integrity of the legal system.


26   Dkt. 54 ¶¶ 20-23, Hezi v. Celsius Holdings, Inc., supra (Dec. 16, 2022).
27 Dkt. 155 at 1-2, Hesse v. Godiva Chocolatier, Inc., No. 1:19-cv-972
(S.D.N.Y. Dec. 16, 2022).
28  See also, e.g., In re Green Jacobson, P.C., 911 F.3d 924, 929 (8th Cir.
2018) (addressing $5.8 million claim for losses to “class settlement fund”
from “fraudulently submitted” claim); Ross Weiner, The Increasing
Danger of Fraudulent Claims in Class Action Settlements, New York L.
J. (July 26, 2023), https://bit.ly/3SLkNto.

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      In short, the mass-arbitration business model works all too well—

blackmail settlements are being paid, and as a result, mass arbitrations

are multiplying.29

     Businesses are employing different approaches to counter this

abusive practice and enable the resolution of claims based on their merits

rather than the coercive threat of massive fees.30 Not surprisingly, the

lawyers bringing abusive mass arbitrations are challenging every effort

to promote merits-based resolution—they are happy with the status quo.

But the FAA affords “parties discretion in designing arbitration

processes” that are “tailored to the type of dispute.” AT&T Mobility LLC

v. Concepcion, 563 U.S. 333, 344 (2011).

     Of course, critical to any solution is proper application by courts of

the FAA’s basic prerequisite for an order compelling arbitration—proof

of the existence of an arbitration agreement—in the mass-arbitration

context. The district court failed to do that here.




29 See Mass Arbitration Shakedown, supra, at 19-20.

30 See id. at 47-59 (discussing approaches).



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                             CONCLUSION

     The district court’s order compelling arbitration and requiring

Samsung to pay the costs of arbitration should be reversed.




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      Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby

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